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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MICHELLE SEMELBAUER, et al.,

       Plaintiffs,
                                                    Case No. 14-cv-1245
vs.
                                                    Hon. Janet T. Neff
MUSKEGON COUNTY, et al.,

       Defendants.
                                              /

      STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

       This matter has been settled. Therefore, pursuant to Rule 41 of the Federal

Rules of Civil Procedure, the parties hereby stipulate to dismissal of this case with

prejudice and without costs or fees to any party.

       This stipulation and order resolves all pending claims and closes the case.

Dated: July 24, 2017                   /s/ Daniel S. Korobkin
                                       Daniel S. Korobkin (P72842)
                                       American Civil Liberties Union Fund
                                         of Michigan
                                       Attorney for Plaintiffs

Dated: July 24, 2017                   /s/ John M. Karafa (by consent)
                                       John M. Karafa (P36007)
                                       Williams Hughes PLLC
                                       Attorney for Defendants
Dated: July 24, 2017                   /s/ Allan C. Vanderlaan (by consent)
                                       Allan V. Vanderlaan (P33893)
                                       Cummings, McClorey, Davis & Acho
                                       Attorney for Defendants


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     IT IS SO ORDERED.

Dated:
                                   HON. JANET T. NEFF
                                   UNITED STATES DISTRICT JUDGE




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